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IN THE COUNTY COURT OF THE IZTH JUDICIAL CIRCUIT
lN AND FOR SARASOTA CGUNTY, FLORIDA
SlVlALL CLAIl\/IS

GAlL REG]LI(),
Case No.
Plaintiff,
JURY TRIAL REQUESTED
\'.

BRI DGECRES'I` CREDIT COMPANY, LLC

Del`endant.

 

STATEl\’lENT OF CLAIM

 

Plaintil`l`, Gail Regilio ("Plaintil`l”), by and through his undersigned eounsel, hereby files and
serves the instant Complaint against Defendant, Bridgeerest Credit Company, LLC (“Del`endant”)

and alleges as l`0ll0ws:

l. This is an action l`or damages that are between $l,OOO and $2,500, plus attoi‘neys’ lees
and eosts.
2_ This is an action l`or damages l`or violations of the Florida Consumei' Collection

Praetiees Aet, Fla. Stal. 559.55 et seq. (hei'einafter the “FCCPA”) and the Telephone Consumer

Protection Aet , 47 U_S.(.`. 227 (hereinal`ter the “TCPA”)..

fw
3. l’laintil`l`is an individual residing in Sarasota County, Flol'ida,
4. Plaintil`l` is a "consumer” within the meaning ol`Seetion 559.55(2) ol`the FCC`PA, in

that the alleged debt that the Del`endant sought to collect l`rom them was originally ineui'red, ifat all,
l`or pei'sonal, l`amily or household purposes and is therelore eonsumer debt within the meaning ol`

the li`(:`(`l)/'\.

File(l 01/25/20]8 ()S:tll P:\'l ~ Karen E. Rushing, (,`lerk ofthe (`,`ircuit (l`ourt, Sarasota County, FL

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5. Defcndant is, upon information and beliel", an Arizona entity authorized to conduct
business in the State of l-`lorida. Defendant maintains a registered agent in the State ofFlorida,

6. Defendant is engaged in the business of collecting or attempting to collect, directly
or indirectly, debts owed or due or asserted to be owed or due another as one ot`its principal areas of
business As such, Dct`cndant is a “person” subject to regulation under the FCCPA.

7. Plaintitl` is the subscriber, regular user and carrier of the cellular telephone number,

(94 l -XXX-7566), and was the called party and recipient of Defendant’s autodialcr calls.

JURISD]CTION AND VENUE

8. lurisdiction and venue are proper in Sarasota County, Florida because all of the acts
giving rise to this action occurred in Sarasota County, Florida.

STATEMENT OF FACTS

9. Plaintilt`allegedly incurred a consumer debt with Defendant (“Subject Debt”).

l(). Defcndant alleges that Plaintiff owed a past due balance

l l . Defendant began a campaign of harassment, abuse and intimidation tactics in order to
coerce Plaintit`l`to make payments

l2. Around January, 20l8, Defendant began calling Plaintist cell phone in an attempt
to collect thc subject dcbt.

l3. On numerous oecasions, Plaintiff demanded Defcndant to stop calling her cell phone
because she did not owe the subject debt.

l4. Despite Plaintil`l`s multiple requests, Del`endant continued to call Plaintil`l`s cell
phone in an attempt to collect the Sub_iect cht.

l5. Despite Plaintiff informing the Dcl`endant l`or her reasons ol non-payment towards the
Sub_icct l_)ebt and tal\'ing all reasonable measures at negotiating a resolution to the Subject Debt, thc

Del`endant continued its el`lorts to try and collect the Subjcct cht l`rom Plaintill As a result, the

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Defendant’s subsequent attempts to persuade Plaintiff were made with the intent to simply exhaust
Plaintifr"s will and harass Plaintiff.

16. The above-referenced conduct was a willful attempt by Defendant to engage in conduct

l which was reasonably expected to abuse or harass Plaintiff. Defendant’s conduct has caused l’laintil`f

significant anxiety, emotional distress, frustration, and anger.

l7. The above-referenced conduct was a willful attempt by Dcfendant to engage in conduct
which was reasonably expected to abuse or harass Plaintiff.

LUNT_J.

VIOLATI()NS OF THE TELEPHONE COMSUMER PROTECTION ACT
47 'U.S.C. § 227 et seq.

18. Plaintiff incorporates by reference paragraphs l through l7 of this Complaint as
though fully stated herein.

19. lt is a violation of the TCPA to make “any call (other than a call made for emergency
purposes or made with the prior express consent of the called party) using any automatic telephone
dialing system or an artificial or prereeorded voice to any telephone number assigned to a
cellular telephone service ...” 47 U.S.C. § 227(b)(l)(A)(iii).

20. The Del`endant placed non-emergency telephone calls to Plaintift`s cellular telephone
using an automatic telephone dialing system or pre-recorded or artificial voice, without Plaintil`l`s
consent in violation of47 U.S.C`. § 227(b)(l )(A)(iii).

Zl. l’laintil`f revoked any prior express consent Defendant had to call Plaintill`s cellular
telephone number. As suelr, the Defendant’s calls were willful or knowing Sc-'e 47 U.S.C. § 3l2(l`)(l )_

22. As a result ofthe Del`endant`s conduct and pursuant to Section 227(b)(3) ol`tlre T(`PA,

Plainti|`l`\\'as harmed and is entitled to a minimum of$§()f) in damages for each violation

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23. Because the Defendant knew that Plaintiffhad revoked prior express consent to receive
their autodialed and prereeorded voice calls to his cellular telephone - and ./or willfully used an
automatic telephone dialing system and/or prereeorded voice message to‘eall Plaintiffs cellular
telephone without prior express consent ~ Plaintiff requests the Court to treble the amount of statutory
damages available to Plaintiffpursuant to 47 U.S.C. § 227(b)(3).

WHEREFGRE, Plain'tiff demands judgment against the Defendant for damages, eosts, and
such further relief as this Court deemsjust and proper

VIOLATION OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT,
FLA. STAT. § 559.55 et seq.

24 Plaintiff incorporates by reference paragraphs l through 17 of this Complaint as
though fully stated herein.
25. The foregoing conduct of Defendant constitutes a violation of the FCCPA:

a. Fla, Stat. 559.72(7): Willfully communicate with the debtor or any
member of her or his farnin with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family

26. As a result ofDefendant’s violations of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintit`fis entitled to damages in an amount up to $l ,000.00, actual damages, plus reasonable
attorneys’ fees and costs

WHEREFORE, Plaintiff demands judgment for damages, attorneys’ f`ces, costs, and

such further relief as this Court deems_iust and proper

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DEMAND F()R JURY TRIAL
Plaintiff demands a trial by jury on all issues so triable

/s/ Jon P. Dubbe/d
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